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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 1:25cv21074


      PAULA J. PHILLIPS, individually and on
      behalf of all others similarly situated,

                        Plaintiff,

                vs.

      STRAIGHT SMILE LLC d/b/a
      BYTE and DENTSPLY SIRONA INC.

                      Defendants.
      ____________________________________/

                                     CLASS ACTION COMPLAINT

           Plaintiff PAULA J. PHILLIPS, individually and on behalf of others similarly situated, files

  this Class Action Complaint against Defendants STRAIGHT SMILE LLC d/b/a BYTE (“Straight

  Smile” or “Byte”) and DENTSPLY SIRONA INC. (“Dentsply,” and together with Byte, the

  “Defendants”), and alleges as follows:

                                           INTRODUCTION

           1.      Defendants Byte and Dentsply falsely and deceptively portray themselves as

  marketing two products – the Byte Aligner Systems and Impression Kits (hereinafter the

  “Products”) – that will enable consumers to finally be able to afford an otherwise costly fix to

  crooked or malformed smiles. Defendants proclaim on their website, “Every smile is as unique as

  the person that bears it. We help people own their smiles, proudly and confidently.” 1 Their

  advertising targets financially vulnerable victims, claiming, “At Byte, we believe in making the

  inaccessible, accessible. Our oral care platform makes it easier and more affordable for many


  1
    Byte About Us (available at: https://www.byte.com/pages/about-us) (last accessed: Feb. 24,
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  people to get the smile and confidence they’ve been dreaming about.” 2 And Defendants engage

  consumers’ trust and confidence through their false representations and advertisements, accessible

  from the State of Florida. For example, Defendants represent, “We are a team of real humans who

  care deeply about you, your Byte journey, and why you’re improving your smile…. Being a part

  of the Byte team means keeping the customers at the heart of everything we do.” 3 In fact, however,

  Defendants’ products are proven to be ineffective and dangerous to consumers. And Defendants

  lacked essential feedback loops to timely advise regulators and, by extension the public, of adverse

  incidents involving their products.

         2.      The truth about Defendants’ Products was exposed publicly on or about October

  24, 2024, when Defendants abruptly announced that they were indefinitely suspending sales and

  marketing of the Byte Aligner Systems and Impression Kits “while the Company conducts a

  review of certain regulatory requirements related to these products.” 4 This immediate suspension

  of sales was widely reported in the press; 5 however, Defendants have failed to make their

  customers whole for selling them Products based on false and deceptive representations.

         3.      As a result of Defendants’ wrongful acts and omissions, Plaintiff and other Class

  members have suffered damages. This is an action to redress those damages and stop further sales

  of these ineffective and dangerous products.



  2
    Id.
  3
      Byte About Us, (available at: https://www.byte.com/pages/about-us?srsltid=AfmBOoo-
  JvFzWIt4wtgdXCs0rkoKGszX61VMdbmPkzBJqJ3xJEZRfw2q) (last accessed: Feb. 24, 2025).
  4
     Important Message for Patients (accessible at: https://www.byte.com/patient-message) (last
  accessed: Feb. 25, 2025).
  5
    See, e.g., American Association of Orthodontists, Guidance for Byte Patients, During Uncertain
  Times from the American Association of Orthodontists, (Oct. 26, 2024) (“Following the recent
  announcement that Byte is suspending its business, we understand you may be left with many
  questions     and      concerns    about    your     ongoing      treatment.”)   (available   at:
  https://aaoinfo.org/treatment/guidance-for-byte-customers-during-uncertain-times-from-the-
  american-association-of-orthodontists/) (last accessed: Feb. 25, 2025).


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                                               PARTIES

         4.      Plaintiff Paula J. Phillips is a resident of Broward County, Florida, with a law office

  in Miami-Dade County, Florida. For twenty-eight years, she has been a member in good standing

  with The Florida Bar. She has resided and practiced law in this District at all times relevant to this

  action. During the Class Period, Ms. Phillips purchased a Byte Aligner Systems and Impression

  Kit from Defendants.

         5.      Defendant Dentsply Sirona Inc. is a Delaware corporation with its principal place

  of business in North Carolina. Dentsply is a dental equipment manufacturer and dental

  consumables producer that markets its products across the United States, including this District,

  as well as globally. Dentsply produces a wide variety of dental supplies, including clear teeth

  aligners.

         6.      Defendant Straight Smile LLC, d/b/a Byte, is a Delaware limited liability company

  with its principal place of business in California. Together with Dentsply, Byte marketed,

  advertised, manufactured, distributed, and sold the Byte Aligner Systems and Impression Kits that

  are the subject of this action. Defendants did so through marketing and sales activity directed at

  consumers in the State of Florida and this District, such as the Plaintiff.

         7.      On or about December 31, 2020, Defendant Dentsply entered an all-cash

  transaction to purchase 100% of Defendant Straight Smile, LLC d/b/a Byte for $1.04 billion. In a

  press release announcing the purchase, Defendant Dentsply described Byte as a “leading direct-

  to-consumer, doctor-directed clear aligner company” and heralded Byte as boasting “a leadership

  position in the rapidly growing direct-to-consumer, doctor-directed clear aligner market.” 6 The




  6
    Dentsply Press Release, Jan. 4, 2021 (available at: https://investor.dentsplysirona.com/news-
  releases/news-release-details/dentsply-sirona-acquires-byter-leading-direct-consumer-


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  press release added, “Byte was founded on the commitment to improve access and affordability to

  orthodontic care…[by offering] effective treatment planning and an easy-to-use clear aligner

  solution delivered directly to a consumer’s home.” 7


                                   JURISDICTION AND VENUE

         This Court has original jurisdiction over all causes of action asserted herein under 28

  U.S.C. § 1332(d) because (a) one or more Class members are citizens of a state that is different

  from the citizenship of Defendants; (b) the number of members of the putative class is more than

  100; (c) the amount in controversy in the aggregate for the putative class exceeds the sum of $5

  million, exclusive of interest and costs; and (d) the primary Defendants do not include States, State

  officials, and/or other governmental entities against whom the Court may be foreclosed from

  ordering relief. It also has original jurisdiction under 28 U.S.C. § 1332(a) because there is diversity

  of citizenship between Plaintiff Ms. Phillips and each of the Defendants and the amount in

  controversy exceeds the sum or value of $75,000, exclusive of interest costs.

         8.      This Court has personal jurisdiction over Defendants Dentsply and Byte. They each

  (a) “operat[ed], conduct[ed], engag[ed] in, or carr[ied] on a business or business venture in this

  state,” and/or “commit[ed] a tortious act within this state,” and/or (b) “caus[ed] injury to persons

  or property within this state arising out of an act or omission by the defendant outside this state”

  where, “at or about the time of the injury,” the “defendant was engaged in solicitation or service

  activities within this state,” or “products, materials, or things processed, serviced, or manufactured

  by the defendant anywhere were used or consumed within this state in the ordinary course of

  commerce, trade, or use,” and/or (c) “breach[ed] a contract in this state by failing to perform acts


  doctor#:~:text=CHARLOTTE%2C%20N.C.%20and%20LOS%20ANGELES,cash%20deal%20f
  or%20%241.04%20billion%20) (last accessed: Feb. 24, 2025).
  7
    Id.


                                                    4
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  required by the contract to be performed in this state.” Fla. Stat. § 48.193(1)(1)1., 2., 6., 7.

  Moreover, Defendants each have sufficient minimum contacts with this State and/or sufficiently

  avail themselves of the markets in this State through their distribution, marketing, and selling of

  the Products within the State to render exercise of jurisdiction by this court permissible.

         9.      Among other things, the causes of action alleged herein arose from Defendants’

  false and deceptive advertising, representations, and marketing activities in Florida and directed at

  consumers in Florida; Defendants’ representations regarding the Products were accessible by

  Florida consumers, including the Plaintiff; and Defendants sent or caused to be sent

  communications to Plaintiff and other Class members in Florida. Additionally, for years,

  Defendants have each held a certificate of authority from the Florida Department of State, Division

  of Corporations to transact business in Florida and each has a registered agent in Florida, and

  Defendant Dentsply has a physical office location in Florida.

         10.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a substantial

  part of the events or omissions giving rise to the claims asserted herein occurred in this District.

  Venue is also proper under 28 U.S.C. § 1391(d) because Defendants are subject to personal

  jurisdiction in this District in accordance with the terms of that provision. Among other things,

  Defendants’ unlawful marketing and selling of the Products occurred in this District, and

  Defendants caused financial harm to members of the putative class that reside in this District.

                                    FACTUAL ALLEGATIONS

  I.     Defendants Engaged in False, Misleading and Deceptive Sales Practices

         11.     Defendants’ business model is premised on mailing directly to consumers an

  impression kit to enable a consumer to make a mold of his or her teeth at home. Consumers then

  mail these impressions back to Defendant Byte for analysis. Defendant Byte then uses the

  impressions to develop a treatment plan and deliver several sets of clear aligners directly to


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  consumers, which fits in the customer’s mouth to shift that customer’s teeth towards the desired

  outcome. Defendants claim that customers’ use of the Product and the associated treatment

  planning is overseen by “a nationwide network of licensed dentists and orthodontists to provide

  clear aligner treatments.”8 But unlike more traditional teeth aligners (e.g., Invisalign or Defendant

  Dentsply’s own SureSmile), Defendants do not require an initial assessment by a dentist or

  orthodontist for a customer to purchase and use the Products.

         12.     Due to the lower costs associated with Defendants’ Products, relative to costly

  aligners truly overseen and monitored by actual dentists and orthodontists, Defendants targeted

  lower income consumers with their Products. In fact, they openly admit to targeting disadvantaged

  socio-economic groups on their website by claiming that “A straighter smile was once only

  reserved for certain groups of people. We set out to change that, to democratize oral

  healthcare. With affordable invisible aligners and a platform that can be accessed from anywhere,

  we’re making straighter smiles available to more people.” 9

         13.     Defendants represent on their website that their Products are “Doctor directed.

  Your treatment plan is reviewed and prescribed by a dentist. Your clinical team is available

  to help monitor your progress.” 10 This a screenshot of the website:




  8
     Byte About Us, (available at: https://www.byte.com/pages/about-us) (last accessed: Feb. 24,
  2025).
  9
    Byte Access, (available at: https://www.byte.com/pages/about-us) (last accessed: Feb. 24, 2025)
  (emphasis supplied).
  10
     Byte Homepage (available at: https://www.byte.com/) (last accessed: Feb. 24, 2025) (emphasis
  retained in original).


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         14.     The image to the right couples with the representation to the left. It features the

  picture of a medical scrubs (suggesting a dentist, orthodontist, or other health-care professional)

  demonstrating Defendants’ Products to a customer, as if to create the impression that Defendants’

  products are individually directed, overseen, administered, reviewed, and confirmed by a “doctor.”

         15.     Similar representations appear in Defendants’ public securities filings. As just one

  of many examples, on March 1, 2022, Defendant Dentsply filed its annual report on Form 10-K

  with the Securities and Exchange Commission containing the same variety of aforementioned

  misrepresentations. In it, Defendant Dentsply explained that while “the Company’s Byte aligner

  business in the U.S. is subject to various state laws, rules and policies which govern the practice

  of dentistry,” it “contracts with an expansive nationwide network of independent licensed dentists

  and orthodontists for the provision of clinical services, including the oversight and control of each

  customer’s clinical treatment in order to comply with these regulations and ensure that the business

  does not violate rules pertaining to the corporate practice of dentistry.” 11




  11
      Dentsply Sirona Inc. 10-K Form (available at: https://investor.dentsplysirona.com/static-
  files/d965cdcd-377b-4ffa-a0e4-4c5be486b483) (last accessed: Feb. 24, 2025).



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         16.     Defendant Dentsply has since repeated this claim. As yet another example, in its

  November 7, 2022, amendment to its quarterly report on Form 10-Q/A with the Securities and

  Exchange Commission, Defendant Dentsply and represented, “Byte contracts with an expansive

  nationwide network of independent licensed dentists and orthodontists for the provision of clinical

  services, including the oversight and control of each customer’s clinical treatment.” 12

         17.     By and through these representations, Defendants promoted the Products as safe

  and effective for the treatment of the misaligned teeth.

         18.     These representations, however, were materially false, deceptive, and misleading.

  Among other things, the Products were not sufficiently overseen, reviewed, or directed by a

  medical professional. Among other things, from October 2020 to October 2024, there were

  hundreds of incidents involving adverse events associated with the Byte Aligner Product. These

  incidents involved a broad range of complications suffered by customers, including the following:

                 (a)     Allergic reactions

                 (b)     Bite misalignment

                 (c)     Bone loss

                 (d)     Breaking and chipping of teeth

                 (e)     Choking on aligners due to poor fit

                 (f)     Cutting of gums due to aligners’ sharp edges

                 (g)     Facial swelling and abscess in mouth

                 (h)     Gum recession and flaring of teeth

                 (i)     Jaw clicking

                 (j)     Locked jaw


  12
      Dentsply Sirona Inc. 10-Q/A Form (available at: https://investor.dentsplysirona.com/static-
  files/5a8b218c-9fa1-405f-891d-7ff907f27a0a) (last accessed: Feb. 24, 2025).


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                 (k)     Loosening of teeth

                 (l)     Loosening of veneer

                 (m)     Periodontal disease

                 (n)     Pulp necrosis resulting in a dead tooth

                 (o)     Severe open bite

                 (p)     Tooth discoloration

                 (q)     Tooth fracture

                 (r)     Worsening of patient bite

         19.     As another example of the widespread severity of the claims at the core of this

  Complaint, one federal agency’s publicly available Manufacturer and User Facility Device

  Experience database includes at least 500 reported adverse events associated with Defendants’

  Byte Aligner from October 2020 to the present.

         20.     That the Products are associated with this many medical conditions indicates how,

  contrary to Defendants’ representations, they lacked sufficient medical oversight of the Products.

  Additionally, the demonstrate that, contrary to Defendants’ representations, the Products were not

  safe and effective in the treatment of misaligned teeth.

         21.     Furthermore, Defendants failed to have in place or adequately implement a

  reporting system to channel complaints from consumers to regulators regarding Defendants’

  Products to address the deficiencies in their Products.

         22.     Defendants have generated a substantial amount of income from availing

  themselves of consumers in the State of Florida from the sale of Defendants’ Products.

  II.    Defendants Finally Admit to The Fatal Flaws in their Products




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         23.     On October 24, 2024, Defendant Dentsply announced that it was suspending the

  sale and marketing of Byte Aligner Systems and Impression Kits “while the Company conducts a

  review of certain regulatory requirements related to these products.” 13

         24.     The following day, on October 25, 2024, Defendant Byte posted an “Important

  Message for Patients.” 14 The message from Defendant Byte claims, in relevant part, “Patient

  safety is at the center of everything Byte does…we have determined that our patient onboarding

  workflow may not provide adequate assurance that certain contraindicated patients do not enter

  treatment with Byte Aligners…we made the decision to voluntarily pause shipment and processing

  of new and recently placed orders for Byte Aligners and Impression Kits while we perform a more

  comprehensive review.” 15 The message continues to name several serious medical concerns

  associated with the Products: “active periodontal disease, severe open bite, severe overjet, tooth

  malocclusion requiring surgical correction, mixed dentition, have dental prosthetics or dental

  implants, or are an adolescent with a skeletally narrow jaw.” 16

         25.     Upon information and belief, Defendants knew or should have known that serious

  adverse effects such as these were associated with the Products well before this message was

  posted in October 2024. For instance, from October 30, 2020, through December 27, 2023, there

  were over 175 reported adverse events associated with Defendants’ Byte Aligner Product, which




  13
     Businesswire                                 (available                                at:
  https://www.businesswire.com/news/home/20250103567867/en/Kirby-McInerney-LLP-Urges-
  Investors-in-Dentsply-Sirona-Inc.-XRAY-to-Inquire-About-Their-Rights-in-Class-Action-
  Lawsuit#:~:text=On%20October%2024%2C%202024%2C%20after,Form%208%2DK%20after
  %20markets) (last accessed: Feb. 25, 2025).
  14
      Important Message for Patients (available at: https://www.byte.com/patient-message) (last
  accessed: Feb. 25, 2025).
  15
     Id.
  16
     Id.


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  included incidents involving several of the same conditions reported by Defendant Byte in its

  October 2024 message.

          26.     Even though Defendants’ business model is premised on advertising that

  Defendants’ Products are more cost effective than traditional clear aligners requiring costly and

  time consuming in-office medical appointments, Defendants’ October 25, 2024, press release

  admits that customers will need to incur the costs and time to visit doctors. Defendants’ Important

  Message for Patients states, “We also recommend that you visit a dentist to review your overall

  oral health. Id. 17

          27.     The Important Message for Patients ends with Defendants claiming, “We expect

  more information to be available at www.byte.com in the coming days.” Yet, in the more than

  four months since the posting, Defendants have failed to provide any additional material

  information to their customers.

          28.     Notwithstanding these concerning admissions, Defendants still continue to the date

  of this filing to market, advertise, and sell the Products at issue. Although the “Important Message

  for Patients” claims that Defendants had “made the decision to voluntarily pause shipment and

  processing of new and recently placed orders for Byte Aligners and Impression Kits,” the Byte

  homepage still advertises and promotes the Products. Among other things, Defendants’ website

  continues to tout the Products with prominent images of young people, the bolded statement,

  “ALIGN WITH CONFIDENCE,” the claim that the Products are “FEATURED IN”

  Entrepreneur Magazine, Forbes, InStyle, and Harvard Medical School, and the statement that the




  17
    Id. Notwithstanding the concerning medical issues admitted by Defendants in the October 25,
  2024 Important Message for Patients, Defendants’ posting curiously states, “All other patients,
  please continue per your treatment plan.”


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  “Byte Aligner System is indicated for the treatment of tooth malocclusion in patients with

  permanent dentition.” 18

  III.   Plaintiff Paula J. Phillips Suffered Damages Due to Defendants’ Conduct

         29.     On or about April 18, 2024, Plaintiff Paula J. Phillips received an ad from

  Defendants concerning the Products. That same day, Ms. Phillips accessed Defendants’ website

  www.Byte.com from her personal computer in this District.

         30.     On or about the same date, Ms. Phillips entered into an installment contract to pay

  $3,338.02 from a Florida-based account to Defendant Byte for the purchase of the Products.

  Multiple installment payments have been debited from her account.

         31.     In or about early May 2024, Ms. Phillips received in this District the impression kit

  from Defendants. She made the impression and mailed it back to Defendants. Several days later,

  on or about May 4, 2024, Defendants emailed Ms. Phillips, to her computer in this District, her

  purported “treatment plan.”

         32.     In or about late May 2024, Defendants shipped the Byte Aligner product to Ms.

  Phillips’ home in this District. Upon receipt, pursuant to the instructions from Defendants, Ms.

  Phillips began using the product. However, by the following month, June 2024, she began

  experiencing pain and bleeding in her mouth from the use of Defendants’ Byte Aligner

  product. The severity of the pain and bleeding worsened until Ms. Phillips stopped using the

  product.

         33.     She inquired about a refund. However, Defendants’ website advised that due to the

  nature of the product, no refunds are available. Thereafter, on or about February 12, 2025, Ms.




  18
     Transform your smile from home | Byte (available at https://www.byte.com) (last accessed: Mar.
  1, 2025).


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  Phillips learned of Defendants’ above-mentioned fall 2024 public statements. She then contacted

  Defendants to request a full refund of the purchase price. None was paid.

                               IV.     CLASS ACTION ALLEGATIONS

          34.     Plaintiff Ms. Phillips brings this action on behalf of herself and all other similarly

  situated individuals pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure,

  seeking damages pursuant to common law, consumer protection, and other statutory law on behalf

  of the Class. Plaintiff Ms. Phillips also brings this action on behalf of herself and as a class action

  under Rule 23(a) and (b)(2) of the Federal Rules of Civil Procedure, seeking injunctive and

  declaratory relief.

          35.     Class Definition: Plaintiff Ms. Phillips brings this action on behalf of herself and

  the Class defined as follows: All persons in Florida who purchased a Byte Aligner System and

  Impression Kit.

          36.     Excluded from the class are Defendants, any parent companies, subsidiaries, and/or

  affiliates, officers, directors, legal representatives, employees, co-conspirators, all governmental

  entities, and any judge, justice, or judicial officer presiding over this matter. Plaintiff Ms. Phillips

  reserves the right to amend or otherwise alter the class definition at the appropriate time, or to

  propose subclasses, in response to facts learned from investigation or discovery or otherwise.

          37.     Numerosity: The proposed Class is so numerous that individual joinder of all

  members is impracticable. The exact number of Class members is not known at this time but can

  be determined based on Defendants’ sales records.

          38.     Predominance of Common Questions: There are many questions of law and fact

  common to Plaintiff and the Class, and those questions substantially predominate over any

  questions that may affect individual Class members. Common questions of law and fact include:




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               a. Whether Defendants engaged in the unlawful conduct alleged herein;

               b. Whether Defendants’ representations in advertising, marketing, and/or selling were
                  unlawful, false, deceptive, and/or misleading;

               c. Whether Defendants misled Plaintiff and Class members about the Products;

               d. Whether Defendants’ representations deceived Plaintiff and Class members;

               e. Whether Defendants were unjustly enriched by their unlawful conduct;

               f. Whether Defendants’ actions violate state consumer protection laws;

               g. Whether Defendants’ breached their contract with the Plaintiff and Class members;

               h. Whether Defendants’ actions breached express warranties;

               i. Whether Defendants’ actions breached implied warranties;

               j. Whether Plaintiffs and Class members are entitled to declaratory and injunctive
                  relief;

               k. Whether Defendants’ conduct economically injured Plaintiff and Class members
                  (and in what amount); and

               l. Whether Plaintiff and Class members are entitled to the recovery of punitive
                  damages (and in what amount).

         39.      Typicality: Plaintiff’s claims are typical of those of the members of the Class in that

  they are based on the same underlying facts, events, and circumstances relating to Defendants’

  conduct. Plaintiff is advancing the same claims and legal theories on behalf of herself and all

  members of the class. Further, there are no defenses available to Defendant that are unique to

  Plaintiff or to any particular Class members.


         40.      Adequacy of Representation: Plaintiff will fairly and adequately represent and

  protect the interests of the Class. Plaintiff has retained counsel with substantial experience in

  prosecuting complex and class action litigation. Plaintiff and her counsel are committed to

  vigorously prosecuting this action on behalf of the Class and have the financial resources to do so.




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         41.      Superiority of Class Action: Plaintiff and the members of the Class suffered, and

  will continue to suffer, harm as a result of Defendants’ unlawful and wrongful conduct described

  herein. A class action is superior to other available remedies for the fair and efficient adjudication

  of the present controversy.


       COUNT I – VIOLATION OF FLORIDA’S DECEPTIVE AND UNFAIR TRADE
                               PRACTICES ACT
                            (On behalf of the Class)


          42.     Plaintiff incorporates and realleges paragraphs 1 through 41 above as if fully set
  forth herein.

         43.      This is an action pursuant to Florida Statutes 501.201, et seq., otherwise known as

  Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”).

         44.      The FDUTPA renders unlawful unfair methods of competition, unconscionable

  acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce.

  Fla. Stat. § 501.204.

         45.      Among other purposes, FDUTPA is intended “[t]o protect the consuming public

  and legitimate business enterprises from those who engage in unfair methods of competition, or

  unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

  Fla. Stat. § 501.202.

         46.      Defendants engaged in unfair, deceptive, and/or unconscionable acts or practices,

  by, among other things, doing the following:

               a. misrepresenting the level of doctor oversight concerning the design and

                  manufacture of Defendants’ Products;

               b. misrepresenting the level of doctor oversight concerning individual consumers’ use

                  of Defendants’ Products;



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               c. selling Defendants’ Products while they were not safe for human use;

               d. marketing, distributing, selling, and warranting Defendants’ Products which were

                  of a lesser effectiveness than was represented to Plaintiff and Class members;

               e. failing to take those steps necessary to discontinue marketing, distributing, selling,

                  and warranting Defendants’ Products after Defendants knew or reasonably should

                  have known of adverse events associated with the Products;

               f. failing to adequately advise customers of their rights to a refund;

               g. failing to follow reasonably appropriate procedures concerning feedback loops for

                  consumers complaining about these products to pass these consumer complaints to

                  government regulators;

               h. failing to reasonably inform the consumer public of adverse events associated with

                  the Products;

               i. failing to correct false, misleading, or deceptive statements about the safety and

                  effectiveness of Defendants’ Products to consumers; and

               j. continuing to design, manufacture, promote, and sell Defendants’ Products after

                  October 2024, when the “Important Message for Patients” was posted by

                  Defendants.

         47.      Through such unfair, unconscionable, and/or deceptive acts or practices,

  Defendants have caused damages to Plaintiff and the Class Members.

         48.      FDUTPA provides for declaratory relief. Fla. Stat. § 501.211. Plaintiff, on behalf

  of herself and the Class members, seeks a declaration that Defendants’ act or practice of marketing,

  advertising, and selling the Products violate FDUTPA.




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         49.       FDUTPA also provides for injunctive relief. Id. Plaintiff, on behalf of herself and

  the Class members, seeks to enjoin Defendants’ continued act or practice of marketing,

  advertising, and selling the Products. Without an injunction, consumers will continue to be

  deceived and damaged by Defendants’ unlawful conduct as described herein.

         50.       FDUTPA also provides for the recovery of actual damages, plus attorneys’ fees and

  costs as provided in Fla. Stat. § 501.2105. Plaintiff, on behalf of herself and the Class members,

  seeks actual damages, attorney’s fees and costs as provided by FDUTPA.

                  COUNT II - VIOLATION OF FLORIDA MISLEADING ADVERTISING
                                       STATUTE § 817.41
                                     (On behalf of the Class)

         51.       Plaintiff incorporates and realleges paragraphs 1 through 41 above as if fully set

  forth herein.

         52.       Pursuant to Florida Statutes § 817.41, Florida law prohibits “any person to make or

  disseminate or cause to be made or disseminated before the general public of the state, or any

  portion thereof, any misleading advertisement. Such making or dissemination of misleading

  advertising shall constitute and is hereby declared to be fraudulent and unlawful, designed and

  intended for obtaining money or property under false pretenses.”

         53.       Defendants made, or disseminated or caused to be made or disseminated,

  advertisements before the general public of the State of Florida by way of printed and electronic

  form as set forth above.

         54.       Defendants knew or through the exercise of reasonable care or investigation could

  or might have ascertained, that such advertisements were untrue or misleading. Among other

  things, Defendants knew or reasonably should have known that their advertisements concerning




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  the Products on their website, in public releases and documents, and elsewhere in the public

  domain:

                a. misrepresented the level of doctor oversight concerning the design and manufacture

                   of Defendants’ Products;

                b. misrepresented the level of doctor oversight concerning individual consumers’ use

                   of Defendants’ Products;

                c. misrepresented that Defendants’ Products were safe and effective for human use;

                d. failed to include reasonable disclosure of adverse events associated with the

                   Products;

                e. failed to adequately advise customers of their rights to a refund;

                f. failing to correct previously-made false, misleading, or deceptive statements about

                   the safety and effectiveness of Defendants’ Products to consumers; and

                g. continued to be made even after October 2024, when the “Important Message for

                   Patients” was posted by Defendants.

          55.      Defendants’ advertisements were made or disseminated with the intent or purpose,

  either directly or indirectly, of selling the Products to the public.

          56.      Defendants were named in and/or obtained the benefits of such misleading

  advertising and associated sales of the Products referenced in the misleading advertising. As such,

  under Florida Statutes § 817.41(4), there is a rebuttable presumption that that Defendants are

  responsible for such misleading advertisements and associated sales of the Products.

          57.      Plaintiff and members of the Class justifiably relied to their detriment on

  Defendants’ misleading advertisements concerning the Products.




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          58.     As a direct and proximate cause of Defendants’ violation of Florida Statutes §

  817.41, Plaintiff and Class members suffered damages.

          59.     Plaintiffs are entitled reasonable attorney’s fees and costs pursuant to Florida

  Statutes § 817.41(6).

          60.     Plaintiffs are entitled to punitive damages against Defendants pursuant to Florida

  Statutes § 817.41(6).

         COUNT III - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                (on behalf of the Class)

          61.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 41 as if fully

  set forth herein.

          62.     Defendants sold the Products to Plaintiffs and Class members. As such, the

  Plaintiffs and Class members were in privity with Defendants.

          63.     The Plaintiff and Class members were foreseeable users of the Products.

          64.     The Plaintiffs and Class members used the Products in their intended manner at the

  time of injury. That is, they used the Products for the purpose of correcting misalignment of teeth.

          65.     The Products were defective at the time of sale from Defendants to the Plaintiff and

  Class members. That is, they were not safe or effective for the purpose of correcting misalignment

  of teeth and are associated with a series of adverse medical consequences.

          66.     Defendants had reasonable notice of the Products’ defect before the filing of this

  suit. That is, Defendants were on notice of hundreds of adverse events involving consumer use of

  the Products, and Plaintiff informed Defendants of the defects associated with the Products sold to

  her.

          67.     Defendants had an opportunity to inspect their defective Products and cure any

  breach prior to the initiation of litigation but failed to reasonably and timely correct the breach.



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  Among other things, Defendants have failed to pay full refunds and otherwise compensate the

  Plaintiff and other Class members for the damages incurred as a result of having purchased the

  defective Products.

          68.     As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

  members have suffered damages.

  COUNT IV - BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
                                    USE
                           (on behalf of the Class)

          69.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 41 as if fully

  set forth herein.

          70.     Defendants sold the Products to Plaintiffs and Class members. As such, the

  Plaintiffs and Class members were in privity with Defendants.

          71.     In connection with the sale of the Products, Plaintiff and Class members made

  known to Defendants the purpose for which they were buying the Products, that is, for the purpose

  of correcting misaligned teeth.

          72.     At the time of the sale of the Products, Defendants had reason to know that the

  Plaintiff and other Class members were purchasing the Products for the particular purpose of

  correcting misaligned teeth and that they were relying on Defendants’ skill or judgment in the

  manufacture of the Products.

          73.     Defendants impliedly warranted that the Products were fit for the particular use of

  correcting misaligned teeth. Defendants breached this implied warranty because, as set forth

  herein, the Products were not fit for that particular use.

          74.     Defendants had reasonable notice of the Products’ lack of fitness before the filing

  of this suit. That is, Defendants were on notice of hundreds of adverse events involving consumer




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  use of the Products, and Plaintiff informed Defendants of the lack of fitness associated with the

  Products sold to her.

          75.     Defendants had an opportunity to inspect their defective Products and cure any

  breach prior to the initiation of litigation but failed to reasonably and timely correct the breach.

  Among other things, Defendants have failed to pay full refunds and otherwise compensate the

  Plaintiff and other Class members for the damages incurred as a result of having purchased the

  defective Products.

          76.     As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

  members have suffered damages.

                          COUNT V - BREACH OF EXPRESS WARRANTY
                                     (on behalf of the Class)

          77.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 41 as if fully

  set forth herein.

          78.     Defendants sold the Products to Plaintiffs and Class members. As such, the

  Plaintiffs and Class members were in privity with Defendants.

          79.     In connection with the sale of the Products, Defendants expressly warranted to

  Plaintiff and other Class members that the Products were manufactured specifically for consumers

  with oversight and direction from doctors, and that the Products were otherwise safe and effective

  in the correction of misaligned teeth.

          80.     Defendants breached the express warranties by selling them Products that were

  manufactured and prepared for the Plaintiff and other Class members without reasonably sufficient

  oversight and direction from doctors and without meeting basic requirements of safety and efficacy

  for the correction of misaligned teeth.




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          81.     Defendants had reasonable notice of the Products’ breach of these express

  warranties. That is, Defendants were on notice of hundreds of adverse events involving consumer

  use of the Products, and Plaintiff informed Defendants of the lack of fitness associated with the

  Products sold to her.

          82.     Defendants had an opportunity to inspect their defective Products and cure any

  breach prior to the initiation of litigation but failed to reasonably and timely correct the breach.

  Among other things, Defendants have failed to pay full refunds and otherwise compensate the

  Plaintiff and other Class members for the damages incurred as a result of having purchased the

  defective Products.

          83.     As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

  members have suffered damages.

                              COUNT VI - BREACH OF CONTRACT
                                    (on behalf of the Class)

          84.     Plaintiff re-alleges and incorporates by reference paragraphs 1 through 41 as if fully

  set forth herein.

          85.     Plaintiff and Class members had a contract with Defendants whereby Defendants

  promised to Plaintiff and other Class members that the Products were manufactured specifically

  for consumers with oversight and direction from doctors, and that the Products were otherwise

  safe and effective in the correction of misaligned teeth.

          86.     Defendants breached their contract with the Plaintiff and Class Members. Among

  other things, the Products were not safe and effective and were not sufficiently overseen, reviewed,

  or directed by a doctor.

          87.     As a direct and proximate result of Defendants’ conduct, Plaintiff and Class

  members have suffered damages.



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                                     COUNT VII – UNJUST ENRICHMENT
                                           (on behalf of the Class)

          88.      Plaintiff re-alleges and incorporates by reference paragraphs 1 through 41 as if fully

  set forth herein.

          89.      Plaintiff and other Class members conferred a benefit on Defendants in the form of

  money paid by the Plaintiff and other Class members when they purchased Defendants’ Products.

          90.      Defendants voluntarily accepted and retained the benefit of the money paid by the

  Plaintiff and other Class members.

          91.      Defendants accepted money from Plaintiff and other Class members as a result

  false, misleading and deceptive advertising and promotional statements as alleged herein. As such,

  it would be inequitable for Defendants to retain the benefit of the payments under these

  circumstances.

          92.      Plaintiff and the other Class members lack an adequate remedy at law.

          93.      Plaintiff and Class members are entitled to recover from Defendants all amounts

  wrongfully collected and improperly retained by Defendants.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that this case be certified and maintained as a class

  action and for judgment to be entered against Defendants as follows:

                a. certify the Class as proposed herein, designating Plaintiffs as Class representative,

                   and appointing undersigned counsel as Class Counsel;

                b. award all damages to which Plaintiffs and Class members are entitled under

                   applicable law;

                c. enter declaratory relief to the effect that Defendants’ conduct is violative of

                   FDUTPA;



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                d. enjoin Defendants from further engaging in acts or practices violative of FDUTPA;

                e. award Plaintiff and the Class all attorneys’ fees and costs allowable by law;

                f. award Plaintiff and the Class any and all pre-judgment and post-judgment interest

                   as allowed by law; and

                g. grant such other and further relief this Court deems just and appropriate.

                                        JURY TRIAL DEMAND

          Plaintiff, on behalf of herself and the Class members, demands trial by jury of all issues

  so triable.


   Dated: March 7, 2025                         Respectfully submitted,


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